           Case 3:15-cr-01380-MMA                 Document 65       Filed 09/25/15            PageID.284         Page 1 of 4
AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case                                                           FILED
                                                                                                               SE;J?,h     i
                                           UNITED STATES DISTRICT Co
                                               SOUTHERN DISTRICT OF CALIFORNIA                      'sou-i~~;~; 01ZTklC"       . C,\UFORN!A
                                                                                                    BY           lf1                 :A:PUTv
                 UNITED STATES OF AMERICA                          JUDGMENT IN A CR1MINAL'CA'SE"~'~""~-"'-
                                      v.                            (For Offenses Committed On or After November 1, 1987)
                  LIDIA MARY FIGUEROA (2)
                                                                       Case Number:         15CR1380 MMA

                                                                    JOHN COTSIRILOS
                                                                    Defendant's Attorney
REGISTRATION NO.                      49852298
o
THE DEFENDANT:
125:1    pleaded guilty to count{s)         ONE OF THE INFORMATION

o was found guilty on count(s)
    after a olea of not guiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                        Count
Title & Sedion                             Nature of Offense                                                           Number(s)
8 USC 1324(a)(2XB)(iii)                    BRINGING IN ALIENS WITHOUT PRESENTATION                                              1




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                   is          dismissed on the motion of the United States.

 125:1   Assessment: $100.00



 125:1   No fine                  0 Forfeiture pursuant to order filed                                          ,included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant sha~fy the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                    HON. MICHAEL M. ANELLO
                                                                    UNITED STATES DISTRICT mDGE



                                                                                                                    15CR1380 MMA
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DEFENDANT:                 LIDIA MARY FIGUEROA (2)                                                 Judgment - Page 2 of 4
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o m                               A.M.             on ___________________________________

       o     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
        o    on or before
        o    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                 ________________________ ro _____________________________

 at                                       , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL


                                                                                                      15CR1380 MMA
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWO (2) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
             The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o            substance abuse. (Check, if applicable.)
IZJ          The defendant shall not possess a flrearm, ammunition, destructive device, or any other dangerous weapon.
             The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
1:83
             Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
             The defendant shall comply with the requirements of the Sex Offender Registration and Notiflcation Act (42 U .S.C. § 1690I, et
o            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
             resides, works, is a student, or was convicted of a qualifYing offense. (Check if applicable.)
o            The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

              If this judgment imposes a frne or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
         such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
         Payments set forth in this judgment.
             The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
         with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
        1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
        2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
        3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        4) the defendant shall support his or her dependents and meet other family responsibilities;
        5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
        6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
        7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
        8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
        9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted pennission to do so by the probation officer;
        10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
            observed in plain view ofthe probation officer;
        11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
        12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the permission of
            the court; and
        13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
            with such notification requirement.


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                                SPECIAL CONDITIONS OF SUPERVISION


     1. Not enter or reside in the Republic of Mexico without pennission of the court or probation officer.

     2. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
        Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

II




                                                                                                15CR1380 MMA
